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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

SHERYL RING,                                    )
                                                )
                               Plaintiff,       )
                                                )
                       v.                       )     No. 2022 CV 895
                                                )
JEROME LARKIN, in his capacity as               )
Administrator of the Attorney Registration      )
and Disciplinary Commission of Illinois;        )
TIMOTHY LOUIS BERTCHY, in his                   )
capacity as Chairperson of the Attorney         )
Registration and Disciplinary Commission        )
of Illinois; and JOHN H. SIMPSON, in            )
his capacity as Vice Chairperson of the         )
Attorney Registration and Disciplinary          )
Commission of Illinois; RITA GARMAN,            )
in her capacity as Associate Justice of the     )’
Illinois Supreme Court; MARY JANE               )
THEIS, in her capacity as Associate Justice     )
Of the Illinois Supreme Court; P. SCOTT         )
NEVILLE, Jr., in his capacity as Associate      )
Justice of the Illinois Supreme Court;          )
MICHAEL J. BURKE, in his capacity as            )
as Associate Justice of the Illinois Supreme    )
Court; DAVID K. OVERSTREET, in his              )
capacity as Associate Justice of the Illinois   )
Supreme Court; ROBERT L. CARTER,                )
in his capacity as Associate Justice of the     )
Illinois Supreme Court; and ANNE M.             )
BURKE; in her capacity as Chief Justice of      )
The Illinois Supreme Court;                     )
                                                )
                               Defendants.      )

     VERIFIED FIRST AMENDED COMPLAINT FOR DECLARATORY RELIEF

       Plaintiff Sheryl Ring (“Plaintiff”) hereby complains and alleges against Defendant,

JEROME LARKIN, in his capacity as Administrator of the Attorney Registration and Disciplinary

Commission of Illinois, TIMOTHY LOUIS BERTCHY, in his capacity as Chairperson of the



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Attorney Registration and Disciplinary Commission of Illinois; JOHN H. SIMPSON, in his

capacity as Vice Chairperson of the of the Attorney Registration and Disciplinary Commission of

Illinois; RITA GARMAN, in her capacity as Associate Justice of the Illinois Supreme Court;

MARY JANE THEIS, in her capacity as Associate Justice of the Illinois Supreme Court; P.

SCOTT NEVILLE, Jr., in his capacity as Associate Justice of the         Illinois   Supreme Court;

MICHAEL J. BURKE, in his capacity as Associate Justice of the Illinois Supreme Court; DAVID

K. OVERSTREET, in his capacity as Associate Justice of the Illinois Supreme Court; ROBERT

L. CARTER, in his capacity as Associate Justice of the Illinois Supreme Court; and ANNE M.

BURKE; in her capacity as Chief Justice of the Illinois Supreme Court, as follows:

                                     Preliminary Statement

       Forty-seven states – all but Illinois, Alabama, and Mississippi – prohibit lawyers and judges

from engaging in gender identity discrimination in their Rules of Professional Conduct, either

explicitly in their Rule 8.4, or by following the United States Supreme Court’s decision in

Bostock v. Clayton County, 140 S. Ct. 1731 (2020), that sex discrimination includes gender identity

discrimination. As Justice Gorsuch explained, “it is impossible to discriminate against a person for

being homosexual or transgender without discriminating against that individual based on

sex.” 140 S. Ct. at 1741.

       The Illinois ARDC, the branch of the Illinois Supreme Court tasked with regulating the

practice of law in Illinois - is the sole Illinois state agency to ignore Bostock. The ARDC has taken

the position – to attorneys requesting ethics advice, to attorneys making ethics complaints, in court

filings, and in public statements – that gender identity discrimination is not within the prohibition

on sex discrimination in the Illinois Rules of Professional Conduct, notwithstanding Bostock. As




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a result, transgender attorneys in Illinois are faced with rampant discrimination without redress.

This action seeks to put an end to this discrimination.

                            General Allegations Common to All Counts

   1. Plaintiff is a natural person and resident of the County of McHenry in the State of Illinois.

   2. At all times herein relevant, Plaintiff was and is a licensed attorney in good standing in the

       State of Illinois.

   3. Plaintiff’s license has never been disciplined.

   4. Plaintiff is, and identifies as, a transgender woman.

   5. Plaintiff owns her own law practice where she works as a sole practitioner in the areas of

       civil rights and discrimination, consumer law, eviction defense, foreclosure defense, debt

       collection defense, and tenants’ rights.

   6. Defendant JEROME LARKIN is a natural person and administrator of the Illinois Attorney

       Registration and Disciplinary Commission of Illinois (the “ARDC”).

   7. The ARDC, at all times herein relevant, was and is responsible for the registration of

       attorneys and regulation of the practice of law in Illinois.

   8. The ARDC is vested with its authority by the Illinois Supreme Court.

   9. As part of its authority, the ARDC has sole authority to investigate and prosecute

       disciplinary action against attorneys for violations of the Illinois Rules of Professional

       Conduct.

   10. The Illinois Rules of Professional Conduct govern the conduct of attorneys engaged in the

       practice of law in Illinois.

   11. TIMOTHY LOUIS BERTCHY is named here in his capacity as Chairperson of the

       Attorney Registration and Disciplinary Commission of Illinois.



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12. JOHN H. SIMPSON is named here in his capacity as Vice Chairperson of the of the

   Attorney Registration and Disciplinary Commission of Illinois.

13. Defendants RITA GARMAN, MARY JANE THEIS, P. SCOTT NEVILLE, Jr.,

   MICHAEL J. BURKE, DAVID K. OVERSTREET, ROBERT L. CARTER, and ANNE

   M. BURKE (the “Supreme Court Defendants”), are named here in their official capacities

   as Justices of the Illinois Supreme Court.

14. As Justices of the Illinois Supreme Court, the Supreme Court Defendants have exclusive

   authority regarding oversight and direction of the ARDC.

15. As Justices of the Illinois Supreme Court, the Supreme Court Defendants have exclusive

   authority to consider and enact new Illinois Supreme Court Rules, including without

   limitation the Rules of Professional Conduct.

16. At all times herein relevant, Illinois Rule of Professional Conduct 8.4(j) prohibited

   discrimination by attorneys on the basis of several protected classes, as follows:

          It is professional misconduct for a lawyer to . . . violate a federal,
          state or local statute or ordinance that prohibits discrimination based
          on race, sex, religion, national origin, disability, age, sexual
          orientation or socioeconomic status by conduct that reflects
          adversely on the lawyer’s fitness as a lawyer. Whether a
          discriminatory act reflects adversely on a lawyer’s fitness as a
          lawyer shall be determined after consideration of all the
          circumstances, including: the seriousness of the act; whether the
          lawyer knew that the act was prohibited by statute or ordinance;
          whether the act was part of a pattern of prohibited conduct; and
          whether the act was committed in connection with the lawyer’s
          professional activities. No charge of professional misconduct may
          be brought pursuant to this paragraph until a court or administrative
          agency of competent jurisdiction has found that the lawyer has
          engaged in an unlawful discriminatory act, and the finding of the
          court or administrative agency has become final and enforceable and
          any right of judicial review has been exhausted.




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17. Illinois Rule of Professional Conduct 8.4(j) does not state that “gender identity,” “gender

    expression,” or being transgender, gender non-conforming, or non-binary is a prohibited

    basis for discrimination by lawyers.

18. Illinois Rule of Professional Conduct Rule 8.4, comment 3, states as follows:

            A lawyer who, in the course of representing a client, knowingly
            manifests by words or conduct, bias or prejudice based upon race,
            sex, religion, national origin, disability, age, sexual orientation or
            socioeconomic status, violates paragraph (d) when such actions are
            prejudicial to the administration of justice. Legitimate advocacy
            respecting the foregoing factors does not violate paragraph (d). A
            trial judge's finding that peremptory challenges were exercised on a
            discriminatory basis does not alone establish a violation of this Rule.

Ill. Sup. Ct. R. 8.4.

19. Illinois Rule of Professional Conduct 8.4, Comment 3, does not state that “gender identity,”

    “gender expression,” or being transgender, gender non-conforming, or non-binary is a

    prohibited basis for discrimination by lawyers.

20. On the other hand, most other states, including inter alia California and Pennsylvania,

    already prohibit discrimination by lawyers on the basis of gender identity and expression.

21. As such, Plaintiff has made several requests to the Illinois Supreme Court Rules

    Committee, including without limitation Request No. 19-09, to add gender identity and

    expression to the list of prohibited grounds of discrimination in Illinois.

22. The ARDC recommended against adoption of each of those requests.

23. The Illinois Supreme Court Defendants rejected each of those proposals and requests.

24. Plaintiff faces daily discrimination from lawyers and judges on account of her gender

    identity, and has experienced that discrimination on a daily basis for several years.

25. In or around March 2019, Plaintiff wrote to the Attorney Registration and Disciplinary

    Commission on two occasions, reporting several instances of this discrimination by

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   attorneys and judges and requesting that the ARDC take action to educate lawyers and

   judges regarding gender identity.

26. The response the ARDC sent Plaintiff to that letter was a correspondence stating that

   discrimination on the basis of gender identity does not violate the Rules of Professional

   Conduct in Illinois.

27. Plaintiff continued to contact the ARDC to request that the rules on gender identity to

   changed to protect transgender attorneys.

28. One employee of the ARDC told Plaintiff in 2018 that “if we allow transgenders to practice

   law in Illinois, people will change gender just to avoid being disbarred.”

29. Another employee of the ARDC told Plaintiff that “we have the obligation to regulate the

   names and genders of attorneys in Illinois for the benefit of the public.”

30. Wendy Muchman and Lea Gutierrez also told Plaintiff that the only change which would

   be made would be to add a “non-binary” gender marker to the annual registration form,

   because they believed that “non-binary” and transgender are synonymous.

31. When Plaintiff said that “non-binary” and “transgender” were not synonyms, Gutierrez

   told Plaintiff she was wrong.

32. Plaintiff also noted that the “non-binary” annual registration does not solve the problem of

   transgender attorneys and litigants being deadnamed and misgendered.

33. In response, Gutierrez told Plaintiff that was not something the ARDC would ever regulate.

34. Since then, the United States Supreme Court decided Bostock v. Clayton County, 140 S.

   Ct. 1731, 1741 (2020), which held that “it is impossible to discriminate against a person

   for being homosexual or transgender without discriminating against that individual based

   on sex.”



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35. Nevertheless, Defendants continues to interpret and apply Rule 8.4 in a manner which

   excludes gender identity as a protected class.

36. As a result, Plaintiff continues to face discrimination from judges, court clerks, and other

   attorneys who consider such discrimination to be permitted by the Rules of Professional

   Conduct.

37. Since 2019, that discrimination includes, without limitation, the following:

       a. The Clerk of Court of Winnebago County, who refused to use Plaintiff’s legal name

           and female pronouns and disclosed Plaintiff’s deadname and male pronouns until

           Plaintiff filed suit in Ring v. Klein, No. 2021 CH 03770;

       b. A retired judge and current mediator who interrupted a mediation session to ask

           Plaintiff whether she had surgically transitioned and request a genital inspection;

       c. A Cook County mandatory arbitration panel which orally ruled that Plaintiff could

           not represent a client because she is transgender and therefore not a person capable

           of being an attorney;

       d. An attorney who asks Plaintiff “what gender are you today?” at the beginning of

           every hearing between herself and the Plaintiff;

       e. Multiple firms at which every attorney purposefully misgenders Plaintiff in court,

           including after being corrected;

       f. Several attorneys who refer to Plaintiff as “it”;

       g. Attorneys who share “before” and “after” pictures of Plaintiff in open court without

           Plaintiff’s permission, including offering them to the presiding judge; and

       h. Other discriminatory acts and practices.

38. Plaintiff is intentionally misgendered by attorneys on a daily basis in her practice.



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39. This conduct occurs because Defendants do not interpret “sex” in Rule 8.4 to include

   “gender identity.”

40. Each of the persons whose discrimination against Plaintiff is described in paragraph 34 told

   Plaintiff that they do so because it is permitted by the ARDC.

41. In light of Bostock, the Defendants’ refusal to interpret “sex” as encompassing gender

   identity, expression, or transgender status is arbitrary, capricious, and unlawful.

42. Litigants who sue for gender identity discrimination in Illinois state courts under Bostock

   and Hobby Lobby Stores, Inc. v. Sommerville, 2-19-0362, at *1 (Ill. App. Ct. Aug. 13,

   2021), are subjected to the very same discrimination in the courtroom where they are

   attempting to seek redress.

43. As such, the ARDC’s conduct amounts to an implicit rejection of Bostock.

44. On or about October 24, 2021, Plaintiff filed suit against Defendant Larkin in the Circuit

   Court of Cook County, Illinois, seeking a declaratory judgment that “sex” in Rule 8.4(j)

   encompasses gender identity.

45. That case was styled Ring v. Larkin, No. 2021 CH 05056.

46. On or about January 24, 2022, Judge Raymond Mitchell dismissed the suit for lack of

   subject matter jurisdiction.

47. In that Order, Judge Mitchell stated that circuit courts have no authority to review the

   decisions of the ARDC, and as such the proper venue was an exercise of the Illinois

   Supreme Court’s authority under Supreme Court Rule 383.

48. Plaintiff timely appealed that ruling.

49. Plaintiff also filed a motion for supervisory review as recommended by Judge Mitchell

   under Rule 383.



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50. On or about February 10, 2022, the Illinois Supreme Court denied Plaintiff's motion.

51. Throughout the pendency of the state court litigation, Plaintiff repeatedly informed the

   ARDC that she was seeking no money damages, and was asking solely for a public

   statement from the ARDC that gender identity discrimination was prohibited by the Rules

   of Professional Conduct.

52. Plaintiff also offered to pay the ARDC’s court costs if they agreed to make that statement.

53. The ARDC has made other similar statements in the past, for example a 2020 “statement

   on racism” which reminded attorneys that racism violates the Rules of Professional

   Conduct.

54. The ARDC rejected each of the Plaintiff’s proposals.

55. The ARDC’s actions are motivated not by protecting the public, but solely by animus

   towards transgender attorneys and litigants on the basis of gender identity and expression.

56. There is no rational basis to permit transgender attorneys and litigants to be misgendered,

   deadnamed, and subjected to genital inspections.

57. Plaintiff’s sole goal with this lawsuit is to create an environment where Illinois courts are

   open and welcoming to people of all gender identities.

58. By repeatedly, prominently, and publicly refusing to prohibit gender identity

   discrimination, Defendants have issued what is tantamount to an invitation to discriminate

   to the attorneys of Illinois.

59. In fact, all Defendants herein maintain a policy of outing transgender attorneys in Illinois

   without their consent by posting their deadnames on the ARDC website.




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60. In an article posted on the Supreme Court Defendants’ website in 2020, the Defendants

   acknowledged that their posting of trans attorneys’ deadnames is outing without consent,

   though they said doing so was “inadvertent”.

61. Nevertheless, Defendants continue to publicly out transgender attorneys by posting their

   deadnames prominently on the ARDC website’s attorney search pages.

62. Defendants are aware their actions and inactions are causing harm to transgender attorneys

   and litigants, and are deliberately taking no action to address those harms.

                     COUNT I – VIOLATIONS OF 42 U.S.C. 1983
               (Against the ARDC Defendants; action for money damages)

63. Plaintiff restates and realleges paragraphs 1-62 of this First Amended Complaint as if fully

   set forth herein.

64. The ARDC’s actions therefore violate Section 1983 of the Civil Rights Act, 42 U.S.C.

   1983.

65. The ARDC is denying Plaintiff equal treatment because the ARDC only allows

   discrimination against transgender attorneys in this matter.

66. As a result of Defendants’ conduct, Plaintiff is forced to disclose her gender identity to

   clients and advise them it may damage their cases to retain her.

67. As a result of the Defendants’ conduct, Plaintiff is forced to be subjected to discrimination

   that other attorneys who are not transgender do not experience.

68. The ARDC uses its position as a state agency to deprive Plaintiff of equal protection from

   discrimination in the Rules of Professional Conduct.

                     COUNT II – VIOLATIONS OF 42 U.S.C. 1983
               (Against the ARDC Defendants; action for injunctive relief)

69. Plaintiff restates and realleges paragraphs 1-68 of this First Amended Complaint as if fully



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   set forth herein.

70. Plaintiff has no adequate remedy at law, because the humiliation of misgendering and

   deadnaming will continue until Defendants protect gender identity from discrimination.

71. The ARDC is the only Illinois state agency which refuses to include “gender identity”

   within the definition of “sex” as established by Bostock and Sommerville.

72. Defendants’ continued refusal to protect gender identity from discrimination deprives

   Plaintiff of equal treatment in her practice as an attorney under color of state law.

       COUNT III – VIOLATIONS OF FOURTEENTH AMENDMENT EQUAL
                               PROTECTION
                           (Against All Defendants)


73. Plaintiff restates and realleges paragraphs 1-72 of this First Amended Complaint as if fully

   set forth herein.

74. Defendants treat Plaintiff unequally as set forth herein because she is transgender.

75. The Defendants’ refusal to consider “sex discrimination” in Rule 8.4 as including gender

   identity and expression violates Plaintiff’s equal protection rights.

                    COUNT V – UNCONSTITUTIONAL TAKING

76. Plaintiff restates and realleges paragraphs 1-75 of this First Amended Complaint as if fully

   set forth herein.

77. Plaintiff has a property interest in her law license and legal practice.

78. Defendants’ actions constitute an unlawful interference with Plaintiff’s ability to practice

   law.

79. By allowing discrimination against Plaintiff and other transgender attorneys, Defendants

   reduce the value of Plaintiff’s license and ability to practice.




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   80. By reducing the ability of Plaintiff to practice law and use her license, Defendants have

       taken Plaintiff’s property without due compensation.

   COUNT VI – TORTIOUS INTERFERENCE WITH ECONOMIC EXPECTANCY

   81. Plaintiff restates and realleges paragraphs 1-80 of this First Amended Complaint as if fully

       set forth herein.

   82. Plaintiff has lost clients because of the discrimination to which she is subjected.

   83. Because of Defendants’ conduct, Plaintiff is forced to disclose she is transgender to her

       clients.

   84. Some of those clients then choose other attorneys because they do not want an additional

       risk in their cases caused by an attorney whose gender identity is made an issue by

       opposing counsel.

   85. Other clients terminate Plaintiff because of the additional risk caused by her gender

       identity.

   86. Plaintiff had a reasonable expectation of an economic benefit from those cases.

   87. If Defendants prohibited gender identity discrimination, Plaintiff would not have lost

       those clients.

WHEREFORE, Plaintiff respectfully requests this Honorable Court order the following relief:

       (a) Holding and declaring that “sex” in Illinois Rule of Professional Conduct 8.4 includes

           and encompasses gender identity, gender expression, non-binary status, and

           transgender status;

       (b) Enjoining the ARDC from refusing to enforce Rule 8.4 in a manner inconsistent

           therewith;




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       (c) Ordering the ARDC to provide notice to attorneys that “sex” in Illinois Rule of

           Professional Conduct 8.4 includes and encompasses gender identity, gender

           expression, non-binary status, and transgender status;

       (d) Alternatively, ordering the Supreme Court Defendants to add “gender identity” to the

           list of prohibited grounds of discrimination in Rule 8.4; and

       (e) Damages in an amount to be proven at trial, plus costs of suit.

                                                                     Respectfully Submitted,

                                                                     /s/ Sheryl Melanie Ring
                                                                     Sheryl Ring, Esq.

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I, Sheryl Ring, state under penalty of perjury pursuant to the Laws of the United States that the

facts set forth herein are true and correct to the best of my knowledge and belief.

Dated: March 3, 2022                                                 /s/ Sheryl Ring




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